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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,
                                                            20 CR 111-09
v.                                                          Judge Virginia M. Kendall

VASILIOS PRASSAS

         Defendant.

                 DEFENDANT’S CLARIFICATIONS AND OBJECTIONS
                TO THE PRESENTENCE INVESTIGATION REPORT; AND
           POSITION PAPER AND COMMENTARY ON SENTENCING FACTORS

         Defendant Vasilios Prassas, by and through his attorneys, Cheronis, Parente & Levitt LLC,

pursuant to Rule 32(c) of the Federal Rules of Criminal Procedure, the opinions of the United States

Supreme Court in United States v. Booker, 543 U.S. 220 (2005), Rita v. United States, 551 U.S. 338

(2007), Gall v. United States, 552 U.S. 38 (2007), Kimbrough v. United States, 552 U.S. 85 (2007), and

Nelson v. United States, 555 U.S. 350 (2009), as well as 18 U.S.C. § 3553(a), respectfully submits his

Clarifications and Objections to the Presentence Investigation Report (hereinafter “PSI”); and Posi-

tion Paper and Commentary on Sentencing Factors.

I.       Introduction

         Vasilios Prassas, the son of first generation immigrants, has spent has life working tirelessly

in the restaurant industry. His parents taught him the importance of hard work, of family, commu-

nity, and just generally being a good, kind, caring person. While that all is certainly a theme, there

is hardly one singular narrative that counsel can provide the Court to describe what a dynamic hu-

man being he is.
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          Indeed, Mr. Prassas is also newly married with his first child expected in mid-July, and un-

derstandably eager to start the next chapter of his life as a dedicated and loving father. Despite all

that, this case proves that Mr. Prassas is far from perfect as we all are, and his life, too, is not without

its shortcomings. He has suffered throughout his adult life from a crippling gambling addiction that

no doubt is the cause for his involvement in this illegal venture, and the reason for his conduct that

will bring him before the Court on the day of sentencing.

          Serious as this offense is, for his role, it is not one requiring a custodial component. Mr.

Prassas was not a leader or a manager of the offense. It did not involve threats or violence. He himself

was very much victimized by the operation. The government itself fairly described how Mr. Delgiu-

dice would forgive portions of Mr. Prassas’s debt, which Mr. Prassas viewed as an act of friendship,

but was in fact a way for Mr. Delgiudice to exploit Mr. Prassas’s addiction and keep him coming

back to gamble more. Dkt. # 344 p. 3. Mr. Prassas has no criminal history. He has been gainfully

employed his whole life. He enjoys deep connections to his family and community and has a new-

born child on the way. Given his relative role in the offense, the sentences his codefendants have

already received, and for the reasons that follow, Mr. Prassas and counsel requests that this Court

impose a sentence of probation, which sentence is sufficient yet not greater than necessary to effec-

tuate the goals of 18 U.S.C. § 3553(a).

II.       Clarifications and Objections to the Presentence Investigation Report

          A. Objection to Certain Proposed Conditions of Probation (pp. 15-20)

          Conditions of supervised release, or here as is being requested, probation, carry the force of

law and allow the Court to imprison a defendant who violates any one of them. See 18 U.S.C.

§§ 3583(e)(3), 3565(a). They must therefore be “(a) appropriately tailored to the defendant’s offense,




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personal history and characteristics; (b) involve no greater deprivation of liberty than is reasonably

necessary to achieve the goals of deterrence, protection of the public, and rehabilitation; and (c)

sufficiently specific to place the defendant on notice of what is expected.” United States v. Kappes,

782 F.3d 828, 847 (7th Cir. 2015); 18 U.S.C. § 3583(d)(1)-(3). Moreover, sentencing courts are

required to define supervised release conditions in a manner that provides defendants with clear

notice of what the condition requires, as well as an adequate rationale for imposing the condition.

See United States v. Adkins, 743 F.3d 176, 194 (7th Cir. 2014); see also United States v. Poulin, 745 F.3d

796, 800 (7th Cir. 2014). The Court has a number of options before it in fashioning the length and

terms of a potential sentence for Mr. Prassas. It certainly can and should consider imposing many

of the appropriate terms recommended by the probation officer in lieu of a period of incarceration,

both for Mr. Prassas and society—after of course balancing the mitigating information presented

herein and all other required considerations. With these principles in mind, Mr. Prassas, through

counsel, poses the following objections and/or requested modifications to the PSI’s recommended

conditions of supervised release:

        Discretionary Condition # 17. The probation officer has proposed a term of home deten-

tion of six months be imposed as part of Mr. Prassas’s sentence. While he and counsel will defer to

the Court regarding the propriety of this condition, it does not seem entirely necessary on balance

after considering all of the § 3553(a) factors.

        Special Conditions # 5-7. Counsel does not believe a fine is appropriate under the circum-

stances. Mr. Prassas’s monthly income currently exceeds his expenditures because he is trying to save

as much money as possible and be responsible in advance of his first child’s birth later this summer.

He himself has lost a tremendous amount of money by gambling, primarily through this operation




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itself. These financial conditions are only by and large necessary if a fine is imposed, and if the Court

agrees that one is not necessary, these conditions ought not be imposed either.

III.    Advisory Guidelines Range

        The parties are in agreement that the total offense level, after adjusting for Mr. Prassas’s

acceptance of responsibility, is 10, which when combined with a criminal history category of I, results

in an advisory guidelines range of 6-12 months’ imprisonment, and placement in Zone B of the

sentencing table.

IV.     Position Paper and Commentary on Sentencing Factors

        A. Introduction

        Mr. Prassas is a loving son, devoted husband, soon-to-be dedicated father, valued community

member, hard-working, kind, and caring individual—and so much more. The sole reason he has

found himself before a federal court with a pending criminal case is because he is also an individual

whose adult life has been consumed at times by a terrible addiction to gambling. It has cost him

unknown thousands of dollars. It has hurt his relationships. It has caused an unquantifiable amount

of stress, anxiety, and hardship. But still, despite all that, Mr. Prassas remains a valued member of

his community, and friend and positive influence to everyone in his life. He has gotten his personal

issues under control, and with the exception of probation conditions helping him continue to stay

on the right path, he is ready to welcome his new child to the world in July and put this case behind

him.

        It is for good fortune, then, that Mr. Prassas finds himself in a post-Booker world and before

a court that has the authority to fashion a just and appropriate sentence. Indeed, as this Court is no

doubt well aware, since United States v. Booker, 543 U.S. 220, 264 (2005), the applicable guidelines




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range has been advice this Court should consider but is not required to follow. But even as advice,

the guidelines may be flawed and are not to be presumed reasonable. Nelson v. United States, 555

U.S. 350, 351 (2009) (“[t]he Guidelines are not only not mandatory on sentencing courts; they are

also not to be presumed reasonable”).

        Nevertheless, the guidelines remain a “starting point” and “initial benchmark” for this Court

to consider in the determination of a just and appropriate sentence. See Gall v. United States, 552

U.S. 38, 49-51 (2007). As this Court is also well aware, per Gall, before determining which sentence

is just and ultimately “sufficient but not greater than necessary to achieve the purposes of sentenc-

ing,” it must consider all of the § 3553(a) factors.

        The parties are in agreement that the total offense level, after adjusting for Mr. Prassas’s

acceptance of responsibility, is 10, which when combined with a criminal history category of I, results

in an advisory guidelines range of 6-12 months’ imprisonment, and placement in Zone B of the

sentencing table.

        Regardless, for the reasons that follow, counsel respectfully submits that the just and appro-

priate sentence in this case is a sentence of probation.

        B. The Nature and Circumstances of the Offense (§ 3553(a)(1))

        With respect to the nature and circumstances of the offense, it is important to maintain

perspective: Mr. Prassas is being sentenced for a non-violent offense, participation in an illegal gam-

bling business for which he himself was very much a victim1. See 18 U.S.C. § 994(j); Coleman v.

Balkcom, 451 U.S. 949, 952 (1981) (Stevens, J., concurring in denial of cert.) (“[t]he deterrent value


1
  As will be discussed further, Mr. Prassas suffered from a very bad gambling addiction. Mr. Delgiudice took
full advantage of this, for example, by forgiving significant portions of his debt just to keep Mr. Prassas coming
back and not running off to another bookmaker. His losses rose to somewhere in the six figures by his best
estimate.


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of any punishment is, of course, related to the promptness with which it is inflicted”); United States

v. Cornielle, 171 F.3d 748, 754 (2d Cir. 1999) (pre-Booker decision granting one-level downward de-

parture based on combination of circumstances including four-year pre-indictment delay); United

States v. Groos, 2008 WL 5387852 (N.D. Ill. 2008) (Gotschall, J.) (granting variance in part based on

four-year delay in indictment).

         It is also appropriate to recognize that Mr. Prassas’s offense, at least for his specific role in it,

serious as it is, is becoming a malum prohibitum crime as opposed to malum in se. There is currently a

Sportsbook under construction at the corner of Sheffield and Addison.2 Even just the past week,

news broke that Mayor Lightfoot selected Bally’s planned casino for the former site of the Tribune

Publishing Center.3

         None of this changes the fact that Mr. Prassas’s actions were harmful and illegal. But it does

help place them in proper context. Finally, counsel notes that Mr. Prassas was cooperative upon his

arrest and throughout the pendency of the case. Ultimately, of course, he chose to plead guilty,

accept responsibility, and save the government considerable time and effort in prosecuting the of-

fense.

         C. The History and Characteristics of the Defendant (§ 3553(a)(1))

         In determining the sentence to be imposed, the Court must also consider the “history and

characteristics of the defendant.” 18 U.S.C. § 3553(a)(1).




2
       See     https://www.espn.com/chalk/story/_/id/29799840/cubs-announce-plans-sportsbook-wrigley-
field?ex_cid=espnapi_affiliate_abcotv.
3
  See https://twitter.com/chicagosmayor/status/1522225151550623746.


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       i. Mr. Prassas’s Life Story

       Vasilios Nicholas Prassas was born on October 20, 1982, in Park Ridge, Illinois, to his par-

ents Christos and Kleanthi Prassas. PSI p. 9 ¶ 43. His parents were first generation immigrants who

worked in the restaurant industry. They provided him with a positive childhood where everyone

pitched in at the family restaurant. Mr. Prassas himself would pitch in by washing potatoes, making

salads, and performing other odd tasks. Id. at ¶ 46. His parents believed having an education and

strong work ethic were important, and they made sure Mr. Prassas grew up to have both. Id. at ¶ 47.

Mr. Prassas noted that he was always adequately provided for, and the family took annual trips back

to Greek or Cyprus. Id. at ¶ 46.

       Mr. Prassas’s father recently passed away in 2018 at the age of 78. Id. at ¶ 44. The two were

extremely close and enjoyed a “great” relationship. Id. Mr. Prassas has followed in his father’s foot-

steps in the restaurant industry, and tries to honor him every day. His passing was extremely difficult

and was a contributing factor to many of his personal struggles.

       His mother is currently 72-years-old and retired. Id. at ¶ 45. Mr. Prassas has one sister, So-

phia, who he speaks to on a weekly basis. They have remained supportive of him throughout this

process.

       In June of 2021, Mr. Prassas married his partner, Karin Iceveski. Id. at ¶ 47. Karin is currently

pregnant and the two are expecting their first child later this summer, in mid-July 2022. Id. The two

currently reside in Elmwood Park along with Mr. Prassas’s mother. Id. They have lived in this modest

three-bedroom home since March of 2020. Id. at ¶ 48.




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       ii. Mr. Prassas’s Struggles with his Gambling Addiction

       Mr. Prassas initially began gambling back in 2002 through the internet or mobile applica-

tions. PSI p. 11 ¶ 57. He would also visit casino with friends, and even initially, lost as much as a

couple thousand dollars in a single day. Id. He first met Vincent Delgiudice approximately ten years

ago after being introduced by a coworker at a restaurant where he was previously employed. A few

weeks after first meeting him, Mr. Prassas set up an account to place bets for himself on Mr. Delgiu-

dice’s website. His limits were initially $100 per game and a maximum of $1,000 per week. The limit

was later increased to $500 per game and a maximum of $20,000 per week. Mr. Prassas would rou-

tinely lose money, and regularly meet Mr. Delgiudice at various locations to settle his debts.

       Between 2009 to mid-2010, altogether, Mr. Prassas probably paid Mr. Delgiudice approxi-

mately $15,000 to $20,000. In the process, Mr. Prassas did recruit some acquaintances to open

accounts. After they stopped a couple years later, Mr. Prassas began playing himself on their ac-

counts. His debt accumulated into the hundreds of thousands of dollars, and Mr. Prassas would do

small favors for him in exchange for small reductions to his balance. As the PSI notes, things spiraled

very close to completely out of control. While Mr. Prassas always managed to pay for basic necessities,

his gambling addiction consumed his life. It caused untold stress, hardship, and anxiety, and con-

tinued to do so up until approximately six months prior to the indictment when Mr. Prassas quit

cold turkey.

       iii. Mr. Prassas Personal Characteristics

       As with most defendants, there is so much more to Mr. Prassas than the individual described

in the indictment and in the discovery. In an effort to provide the Court more information, counsel




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asked him to obtain character reference letters from his friends and family—those who know him

best.

          By way of example, Kris Boulhanis, the Director for the Midwest Region of Stoli Group

USA, friend and professional acquaintance of Mr. Prassas since 2009, wrote to describe him as

“someone that [he has] counted on to help [him] grow professionally and mentor [him] in the dy-

namics of the restaurant business.” On a personal level, Kris described Mr. Prassas as “very reliable,

“trustworthy,” and some who has “always been available to help with anything [he has] ever asked of

him.”

          Jacqueline Rosenau, who has known Mr. Prassas for over ten years and was formerly em-

ployed by him, describes how as a supervisor he “leads with authority but yet treats people with

respect.” She further described him as “not just a supervisor . . . [but] a down right good human

being.”

          John Delicandro, a friend of Mr. Prassas’ family since 1989, wrote to discuss a bit about Mr.

Prassas’ family background and upbringing. He describes how important family is to Mr. Prassas,

and on a personal level, described him as “bright and personable,” “highly self-motivated,” and an

“Elmwood Parker that all of us are proud of.”

          Janice Fields, the former President of McDonald’s Corporation, and extremely accomplished

business executive, wrote to describe Mr. Prassas as “a great leader and a role model to all of the

employees that worked for him.” She explains how Mr. Prassas has always taken the time to get to

know his employee’s families, “treat[s] everyone with dignity and respect,” and that he is “a person

that you would be proud to call your son.” She concluded by noting that Mr. Prassas is well known




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and valued within his community, is a positive individual, always willing to help non-profit organi-

zations, and ultimately, is someone always there for others.

       Andrew Hock, the Deputy Chief of Police for the Elmwood Park Police Department, began

his letter by referencing the fact that he has known Mr. Prassas and his family for over thirty years,

specifically describing how he has observed Mr. Prassas develop into a “hardworking young man.”

Deputy Hock explained that he has worked closely with Mr. Prassas in a variety of charitable and

community initiatives, and through those experiences, had the opportunity to witness Mr. Prassas’

personal character first-hand. Specifically, he described Mr. Prassas as hard-working, honorable, and

one who values and respects others, among other positive characteristics.

       Bruno Tassone, a lawyer in his own right, and retired Associate Judge of Cook County,

former IRS agent—amongst other accomplishments—is an individual who has known Mr. Prassas for

approximately 15 years. He wrote to describe Mr. Prassas’ laudable work-ethic, positive personal

disposition, and outgoing nature. Ultimately, he described Mr. Process as “dedicated, honorable,

selfless and a trustworthy person.”

       Karin Linda Icevski, Mr. Prassas’s wife, wrote to describe Mr. Prassas as extremely family

oriented, one who has a big heart, and is always taking care of those around him. She notes that Mr.

Prassas is “the most loyal person [she’s] ever met,” and despite the difficulties this case has caused

him and her by extension, how excited they remain to start the rest of their lives together.

       The foregoing is but a sampling of Mr. Prassas’ character as revealed by those who know him

best—her friends and family—and those who he will have to remain accountable to long after this

case has concluded.




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          iv. Collateral Consequences of a Felony Conviction

          Beyond the generally applicable collateral consequences of a felony conviction—which are

perhaps overlooked at sentencing hearings more than they should be—Mr. Prassas faces a unique

one. Namely, given his life-long history and involvement in the restaurant industry, it is understand-

able that his future plans for his career and professional development involve following in his father’s

footsteps and one day owning a restaurant of his own. The ability to do so will become much more

difficult now because, pursuant to 235 ILCS 5/6-2, Illinois does not issue liquor licenses to convicted

felons.

          D. A Below Guidelines Sentence is Sufficient to Comply With the Factors Set Forth
             in 18 U.S.C. § 3553(a)(6).

          18 U.S.C. § 3553(a)(6) mandates that “[t]he court, in determining the particular sentence to

be imposed, shall consider . . . the need to avoid unwarranted sentence disparities among defendants

with similar records who have been found guilty of similar conduct.” In fact, as the Supreme Court

noted in Booker, Congress’ “basic statutory goal” in enacting the guidelines was to implement “a

system that diminishes sentencing disparity.” Booker, 542 U.S. at 250.

          The relevant point of comparison here, of course, is Mr. Prassas’s co-defendants. They have

received the following sentences or dispositions:




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                        Defendant        Sentence                   Notes

                    Vince Delgiudice     18
                                         Months’
                                         BOP

                    Matthew Knight       Two          Sixth Months’ community confine-
                                         Years’       ment.
                                         robation

                    Justin Hines         Two         Sixth months’ community confine-
                                         Years’ Pro- ment.
                                         bation

                    Keith Benson                      Deferred Prosecution

                    Todd Blanken         Two         No home confinement.
                                         Years’ Pro-
                                         bation

                    Nicholas Stella      15 months Compassionate release denied as well.

                    Matthew Namoff       24           Six months’ home detention.
                                         Months’
                                         Probation

                    Casey Urlacher                    Clemency

                    Eugene     Delgiu- 12             Three months’ home confinement.
                    dice               Months’
                                       Probation



          On this factor, it should also be noted that, according to the Sentencing Commission’s in-

teractive Data Analyzer, for the 59 defendants sentenced under Guideline § 2E3.1, 26 received a

prison only sentence, three received a prison and alternative sentence, 17 received probation only,

and 13 received probation and alternatives.4 Altogether, given Mr. Prassas’s role in the offense, rel-

ative culpability, and personal characteristics, this factor also favors the sentence requested by coun-

sel.




4
    See https://ida.ussc.gov/analytics/saw.dll?Dashboard.


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V.     Conclusion

       Mr. Prassas is every bit the remarkable individual described by counsel herein, his friends

and family in the letters submitted to the Court, and then some. He is also a first-time offender who

has been dealing with the consequences of his involvement in an illegal gambling business with his

codefendants, and will continue to have to do so for some time. For the reasons set forth herein,

Mr. Prassas is deserving of compassion and leniency from this Court. After considering the guide-

lines as a “starting point” and “initial benchmark,” the Presentence Investigation Report, the infor-

mation adduced at the sentencing hearing, and everything else this Court is required to consider,

counsel respectfully submits that a non-custodial sentence is the just and appropriate sentence.



                                                      Respectfully submitted,


                                                      /s/ Damon M. Cheronis
                                                      Damon M. Cheronis

                                                      /s/ Ryan J. Levitt
                                                      Ryan J. Levitt,
                                                      Attorneys for Defendant

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                                 CERTIFICATE OF SERVICE

I, Damon M. Cheronis, hereby certify that on May 10, 2022, I electronically filed the foregoing
Sentencing Memorandum with the Clerk of the United States District Court for the Northern
District of Illinois, Eastern Division, by using the CM/ECF system, and in accordance with Fed. R.
Crim. P. 49, Fed. R. Civ. P. 5, Local Rules 5.5 and 5.9, and General Order 16-0020.

                                             s/ Damon M. Cheronis
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